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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re
                                                              Chapter 11
Lordstown Motors Corp., et al.,1
                                                              Case No. 23-10831 (MFW)

                                      Debtors.                (Jointly Administered)


                 AMENDED SUPPLEMENTAL CERTIFICATE OF SERVICE

        1.     I, Heather Fellows, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Debtors in the above-captioned
case. I submit this Supplemental Certificate in connection with the service of solicitation materials
for the Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
Affiliated Debtors (Docket No. 635) (the “Plan”). I am over the age of 18 and not a party to this
action. Except as otherwise noted, I could and would testify to the following based upon my
personal knowledge.

       2.     On June 28, 2023, the Court entered the Order Appointing Kurtzman Carson
Consultants LLC as Claims and Noticing Agent Effective as of the Petition Date (Docket No. 54).

        3.     On July 25, 2023, the Court entered the Order Authorizing the Employment and
Retention of Kurtzman Carson Consultants LLC as Administrative Advisor Effective as of the
Petition Date (Docket No. 174).

        4.      Consistent with its retention as claims and noticing agent, KCC is charged with,
among other things, printing and distributing Solicitation Packages2 to creditors and other
interested parties pursuant to the solicitation and voting procedures within the Order (I) Approving
the Disclosure Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation
and Voting Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner, and
Scope of Confirmation Notices, (V) Establishing Certain Deadlines in Connection with Approval
of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief
(Docket No. 651) (the “Disclosure Statement Order”) entered on November 1, 2023.

      5.         The Solicitation Package consists of the following materials (the “Solicitation
Package”):


1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
    Terms not otherwise defined herein shall have the same meanings ascribed to them in the Disclosure Statement
Order.
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a. USB Flash Drive (the “USB”) containing the following documents:

          i. the Disclosure Statement;

         ii. the Plan; and

        iii. the Disclosure Statement Order (without exhibits, except the Solicitation
             Procedures);

b. Notice of (I) Approval of Disclosure Statement, (II) Establishment of Voting
   Record Date, (III) Hearing on Confirmation of the Plan, (IV) Procedures for
   Objecting to the Confirmation of the Plan, and (V) Procedures and Deadline for
   Voting on the Plan (Docket No. 661) (the “Confirmation Hearing Notice”);

c. Cover Letter to All Holders of Claims and Interests Entitled to Vote on the Plan,
   describing the contents of the Solicitation Package and providing instructions to
   obtain access, free of charge and in multiple, optional formats, to the Plan,
   Disclosure Statement, and Disclosure Statement Order, and urging the Holders of
   Claims and Interests in the Voting Classes to vote to accept the Plan (the “Cover
   Letter” (substantially in the form attached as Exhibit 8 to the Disclosure
   Statement Order);

d. Cover Letter to Holders of Class 3 General Unsecured Claims (the “Creditors’
   Committee Letter”) (attached hereto as Exhibit A);

e. Cover Letter to Holders of Class 7 Common Stock Interests (the “Equity
   Committee Letter”) (attached hereto as Exhibit B);

f. Note re Electronic Access to Plan, Disclosure Statement, and Disclosure
   Statement Order (the “Electronic Access Note”) (attached hereto as Exhibit C);

g. a printed copy of the appropriate Ballot(s) and voting instructions for the voting
   class in which the creditor is entitled to vote:

          i. Class 3 General Unsecured Claims Ballot (“Class 3 Ballot”)
             (substantially in the form attached as Exhibit 2-1 to the Disclosure
             Statement Order);

         ii. Class 5 Foxconn Preferred Stock Interest Ballot (“Class 5 Ballot”)
             (substantially in the form attached as Exhibit 2-2 to the Disclosure
             Statement Order);

        iii. Class 7 Common Stock Interests Master Ballot (“Class 7 Master
             Ballot”) (substantially in the form attached as Exhibit 2-3 to the
             Disclosure Statement Order);



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                    iv. Class 7 Common Stock Interests Beneficial Holder Ballot (“Class 7
                        Beneficial Holder Ballot”) (substantially in the form attached as
                        Exhibit 2-4 to the Disclosure Statement Order);

                       v. Class 7 Common Stock Interests Registered Holder Ballot (“Class 7
                          Registered Holder Ballot”) (substantially in the form attached as
                          Exhibit 2-5 to the Disclosure Statement Order);

                    vi. Class 8 Section 510(b) Claims Ballot (“Class 8 Ballot”) (substantially in
                        the form attached as Exhibit 2-6 to the Disclosure Statement Order);

                   vii. Class 9 RIDE Section 510(b) Claims Ballot (“Class 9 Ballot”)
                        (substantially in the form attached as Exhibit 2-7 to the Disclosure
                        Statement Order);

                  viii. Class 10 Ohio Securities Action Claims Election Ballot (“Class 10
                        Election Ballot”) (substantially in the form attached as Exhibit 2-8 to
                        the Disclosure Statement Order);

            h. a pre-addressed, postage pre-paid return envelope (the “Return Envelope”).

       6.      The Non-Voting Package consists of the following documents:

            a. Notice of Non-Voting Status to Holders of Unclassified and Unimpaired Claims
               Conclusively Presumed to Accept the Modified First Amended Joint Chapter 11
               Plan of Lordstown Motors Corp. and Its Affiliated Debtors (the
               “Unclassified/Unimpaired Non-Voting Status Notice”) (substantially in the
               form attached as Exhibit 4 to the Disclosure Statement Order); and

            b. Confirmation Hearing Notice.

       7.      On November 8, 2023, links to the following documents were made available on
the public access website of www.kccllc.net/lordstown:

            a. Disclosure Statement Order;

            b. Disclosure Statement;

            c. Plan;

            d. Cover Letter;

            e. Creditors’ Committee Letter;

            f. Equity Committee Letter;



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          g. Unclassified/Unimpaired Non-Voting Status Notice; and

          h. Confirmation Hearing Notice.

       8.     On February 26, 2024, at my direction and under my supervision, employees of
KCC caused the Confirmation Hearing Notice to be served per postal forwarding address via First
Class Mail upon the service list attached hereto as Exhibit D.



Dated: March 4, 2024
                                                      /s/ Heather Fellows
                                                      Heather Fellows
                                                      KCC
                                                      222 N Pacific Coast Highway, 3rd Floor
                                                      El Segundo, CA 90245
                                                      Tel 310.823.9000




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                    Exhibit A
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Troutman Pepper Hamilton Sanders LLP
875 Third Avenue
New York, NY 10022
troutman.com


 Deborah Kovsky-Apap             Francis J. Lawall
 D 212.808.2726                  D 215.981.4481
 deborah.kovsky@troutman.com     francis.lawall@troutman.com




November 2, 2023



Re: LORDSTOWN MOTORS CORP., et al., Case No. 23-10831 (MFW)
    RECOMMENDATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
    TO APPROVE THE DEBTORS’ MODIFIED FIRST AMENDED JOINT CHAPTER 11 PLAN

Dear Voting Creditor:

        Our firm has been retained to represent the Official Committee of Unsecured Creditors
(the “Creditors’ Committee”) of Lordstown Motors Corp. et al. (the “Debtors”) in their Chapter 11
bankruptcy proceedings, which are pending in Wilmington, Delaware. The Creditors’
Committee represents the interests of general unsecured creditors such as yourself. Over the
last several months the Committee has been engaged in complex and hard-fought negotiations
to formulate a plan of reorganization that would provide the best outcome for unsecured
creditors. The accompanying Modified First Amended Joint Chapter 11 Plan (as it may be
altered, amended, modified or supplemented from time to time, including in accordance with its
terms, any Plan Supplement, the Bankruptcy Code or the Bankruptcy Rules, the “Plan”) is the
result of those efforts.

        We are writing to you today regarding the solicitation of ballots to accept or reject the
Plan, which you are receiving from the Debtors. The Creditors’ Committee has unanimously
agreed to support the Plan. This decision was made after carefully considering several factors,
including, among other things, the estimated recovery to creditors and the safeguards put in
place to ensure the prompt and fair reconciliation of claims and distributions to creditors. Upon
concluding its due diligence review, the Creditors’ Committee has determined that it is
appropriate to support the Plan and to provide this letter in support of the Plan.

       Under the facts and circumstances of this case, the Creditors’ Committee believes that
confirmation of the Plan is in the best interest of the Debtors’ general unsecured creditors and
recommends that you vote to APPROVE the Plan. Notwithstanding this recommendation, you
must make your own independent determination as to whether the Plan is acceptable to you
and should consult your own legal and/or financial advisor(s).

         The Creditors’ Committee urges all creditors, before voting, to read and review, carefully
and in its entirety, the Disclosure Statement and Plan, including the discussion of the risk factors
related to the Plan, and all other documents submitted to you by the Debtors. This
communication does not constitute, and shall not be construed, as a recommendation or
solicitation by any individual member of the Creditors’ Committee.
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          The voting deadline is December 12, 2023 at 5:00 p.m. (ET). Please complete and
submit your ballot in accordance with the instructions contained in the solicitation package so
that it is received no later than the voting deadline. Please feel free to contact us with any
questions regarding the Plan and the foregoing.


Sincerely,


Deborah Kovsky-Apap                  Francis J. Lawall

Counsel to the Official Committee of Unsecured Creditors of Lordstown Motors Corp., et al.
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ROBERT J. STARK
rstark@brownrudnick.com



November 2, 2023


To:      HOLDERS OF CLASS 7 COMMON STOCK INTERESTS

RE:      Recommendation of the Official Committee of Equity Security Holders with Respect to the
         Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and its Affiliated
         Debtors (the “Plan”) [Docket No. 657]1

         Our firm is counsel to the Official Committee of Equity Security Holders (the “Equity
Committee”) appointed in the Chapter 11 cases of Lordstown Motors Corp. and certain of its affiliated
entities (collectively, “Lordstown” or the “Debtors”). The Equity Committee is also advised by Morris
James LLP, as Delaware co-counsel, and M3 Advisory Partners, LP, as its financial advisor. The Equity
Committee was appointed on September 7, 2023, by the Office of the United States Trustee (a component
of the United States Department of Justice responsible for overseeing the administration of bankruptcy
cases), and is comprised of three shareholders of Lordstown. As an estate fiduciary, the Equity Committee
represents the interests of Holders of Common Stock Interests. You are receiving this letter because you
are a Holder of Common Stock Interests and are entitled to vote on the Plan.

      THE EQUITY COMMITTEE SUPPORTS THE PLAN AND BELIEVES THAT THE
PLAN IS IN THE BEST INTERESTS OF ALL HOLDERS OF COMMON STOCK INTERESTS.
ACCORDINGLY, THE EQUITY COMMITTEE STRONGLY URGES THE HOLDERS OF
CLASS 7 TO ACCEPT THE PLAN. AS SET FORTH BELOW, THE PLAN WOULD PERMIT
HOLDERS TO RETAIN THEIR COMMON STOCK INTERESTS IN POST-EFFECTIVE DATE
LMC. CLASS ACCEPTANCE OF THE PLAN WOULD REFLECT THAT HOLDERS OF
COMMON STOCK INTERESTS ARE IN FAVOR OF THE TREATMENT PRESCRIBED FOR
THEM UNDER THE PLAN. THE BANKRUPTCY COURT HAS NOT CONFIRMED THE PLAN
AND CONFIRMATION OF THE PLAN CANNOT BE ENSURED IF CLASS 7 VOTES TO
REJECT THE PLAN.

                                     Treatment of Common Stock Interests

         Holders of Class 7 Common Stock Interests will retain their Common Stock Interests in Post-
Effective Date LMC following the Effective Date of the Plan. The post Effective Date trading of
Common Stock Interests may be limited in accordance with the New Organizational Documents to, among
other things, prevent an ownership change which may impair the value of the Post-Effective Date Debtors’
tax attributes.

        The Post-Effective Date Debtors will be responsible for making distributions to Holders of Claims,
prosecuting the Debtors’ causes of action, including against Foxconn and former officers and directors,
and optimizing the value of the Post-Effective Date Debtors.

        The Plan provides for the appointment of the New Board of the Post-Effective Date LMC
following the Effective Date. The Equity Committee will identify the members of the New Board with
the consent of the Debtors (which consent shall not be unreasonably withheld) in conjunction with the Plan

1
      The Plan and Disclosure Statement are available online at https://www.kccllc.net/lordstown/document/list/5890.
      Capitalized terms used but not defined herein shall have the meanings set forth in the Plan.


Brown Rudnick LLP brownrudnick.com 7 Times Square, New York, NY 10036 1.212.209.4800
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Supplement. The Equity Committee anticipates that the Plan Supplement will be filed with the Court on
or about December 1, 2023. The New Board will govern the Post-Effective Date Debtors following the
Effective Date pursuant to the New Organizational Documents.

         If you accept our recommendation and vote in favor of the Plan, you will be releasing the Released
Parties from any and all claims/causes of action to the extent provided in Article VIII.D of the Plan and
you will be irrevocably bound by such releases. If the Plan is confirmed, each Holder of an Allowed Class
7 Common Stock Interest will be entitled to a distribution to be made to Holders in that Class regardless
of whether such Holder consented to the releases provided in Article VIII.D of the Plan by voting to accept
the Plan or opting-in to these releases on its Plan Ballot. The Putative Class Action Representatives, which
have commenced Putative Class Actions against certain Released Parties, are opposed to such “third-party
releases,” and believe that such third-party releases are not in the interests of their Putative Class Action
members, which may include you.2 The Putative Class Action Representatives recommend that, if you are
a member in the Putative Class Actions (as defined in the Plan), you should not consent to the third-party
releases and should therefore: (a) abstain from voting on the Plan; or (b) vote to reject the Plan and not
opt-in to the third-party releases on your Class 7 Ballot.

        The foregoing description of the Plan is not intended as a substitute for the Disclosure
Statement. The Equity Committee cannot provide you with any investment advice. Please review the
Disclosure Statement in its entirety, including Article VII.K (“Certain Risks to Holders of Interests”).
For a full description of the treatment of each classification of Claims and Interests, please review the
Disclosure Statement and Plan.

                                             Voting Procedures

     Your vote is important. THE EQUITY COMMITTEE RECOMMENDS THAT YOU VOTE
TO ACCEPT THE PLAN.

        To have your vote counted, you must complete the ballot previously provided to you in accordance
with the procedures set forth therein. PLEASE READ THE DIRECTIONS ON THE BALLOT
CAREFULLY AND COMPLETE YOUR BALLOT IN ITS ENTIRETY IN ACCORDANCE WITH
THE DIRECTIONS PROVIDED BY YOUR BANK, BROKER, OR NOMINEE (in each instance,
a “Nominee”). Your ballot must be submitted on or before December 12, 2023, at 5:00 p.m. Eastern
Time to be counted. Please be aware that your Nominee may establish an earlier date and time for you to
cast your ballot to ensure it is included on your Nominee’s master ballot.

     If you have any questions or concerns regarding the Plan, please contact us at
LMCEquity@brownrudnick.com.

Sincerely,

BROWN RUDNICK LLP


Robert J. Stark



2
    The terms “Putative Class Actions” and “Putative Class Action Representatives” are defined in the Plan and
    class certification has not yet been ruled upon in any of the Putative Class Actions.


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                    Exhibit C
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          Electronic Access to Plan, Disclosure Statement, and Disclosure Statement Order:

The Plan, Disclosure Statement, and Disclosure Statement Order, including the Solicitation Procedures
and other exhibits, may be accessed, free of charge at https://www.kccllc.net/Lordstown by clicking on
the “Solicitation Materials” tab on the home page.

You can also request, free of charge, copies in paper or flash drive format of any Solicitation Package
Materials by (a) calling the Debtors’ toll‐free restructuring hotline at (877) 709‐4757 (U.S./Canada) or
(424) 236‐7235 (International); (b) Visiting the Debtors’ restructuring website at
https://www.kccllc.net/Lordstown; (c) writing to Lordstown Processing Center, c/o Kurtzman Carson
Consultants, 222 N. Pacific Coast Highway, Suite 300, El Segundo, Ca 90245 (D) Emailing
Lordstowninfo@kccllc.com (with ‘Lordstown’ in the subject line). As soon as reasonably practicable after
receiving such a request, the solicitation agent will provide you with the copies you requested.
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                    Exhibit D
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                                                                    Exhibit D
                                                                 Creditor Matrix
                                                            Served via First Class Mail
                              CreditorName       CreditorNoticeName           Address           City     State      Zip
                         Hi TecMetal Group Inc   Cole Coe              28910 Lakeland Blvd   Wickliffe   OH      44092‐2321




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